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UNITED STATES COURT OF APPEALS FOR THE THIRD CHECUIT

 

CONCISE SUMMARY OF THE CASE

Pursuant to 3™ Cir. LAR 33.3, counsel are required to file a concise summary of
the case within 14 days of the date of docketing of the Notice of Appeal. Total statement is limited lo
no more than 2 pages, single-spaced. Counsel may utilize this form or attach a 2 page statement
encompassing the information required by this form.

SHORT
CAPTION:

Bryan David Range v Merrick Garland, et al

 

 

USCA NO,; 2172835 _

 

LOWER COURT or AGENCY and DOCKET NUMBER:
United States District Court for the Eastern District of Pennsylvania No 20-cv-03488

 

NAME OF
JUDGE: Gene E.K. Pratter

Specify who is suing whom, for what, and the subject of this action. Identify (1) the nature of the
action; (2) the parties to this appeal; (3) the amount in controversy or other relief involved; and (4) the
judgment or other action in the lower court or agency from which this action is taken:

This is a lawsuit brought by Bryan David Range against William Barr, the then United States Attorney
and Regina Lombardo, the then Acting Director of the Bureau of Alcohol, Tobacco and Firearms and
Explosives. Mr. Range approximately 25 years ago was convicted of a misdemeanor offense which
under the Federal Regulatory Scheme prohibits him from owning and possessing firearms. This is
an action brought to obtain a declaration that 18 U.S.C, Section 922(g)(1) cannat be applied against
Bryan Range on account of his 1995 misdemeanor conviction under 62 Pa C.S. Section 481(a) and
that it ig unconstitutional as applied to Mr. Range

LIST and ATTACH a copy of each order, judgment, decision or opinion which is involved in this
appeal. If the order(s) or opinion(s) being appealed adopt, affirm, or otherwise refer to the report and
recommendation of a magistrate judge or the decision of a bankruptcy judge, the repert and
recommendation or decision shall also be attached.

See attached Order and Memorandum.

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Case: 21-2835 Document:7 Page:2 Date Filed: 10/12/2021
Provide a short statement of the factual and procedural background, which you consider important to
this appeal:

In 1995 Bryan Range was convicted of a misdemeanor of the first degree punishable up to five years
in prison, He received a short term of probation and restitution for obtaining approximately $2,500.00
in food stamps. After discovery, both parties filed cross motions for summary judgment. The trial
court, after oral arqument, granted the Government's Motion for Summary Judgment.

Identify the issues to be raised on appeal:

Did the trial court err in granting the government's Motion for Summary Judgment and failing to grant
the plaintiff's Motion for Summary Judgment. Moreover, did the trial court err in erroneously
determining that Range’s misdemeanor conviction was serious therefore precluding him from relief.

This is to certify that this Concise Summary of the Case was electronically filed with the Clerk of the
U.S. Court of Appeals for the Third Circuit and a copy hereof served to each parly or their counsel of
record

this x day of _(ktoe 20a)

Signature of Counsel

Rev. 07/2015

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRYAN DAVID RANGE,
Plaintiff ; CIVIL ACTION

No, 20-3468

REGINA LOMBARDO ef af,
Defendants

ORDER
AND NOW, this 30th day of August, 2021, upon consideration of the Government's

Motion for Summary Judgment (Doc. No. 12), Mr. Range’s Motion for Summary Judgment
(Doc. No. 13), the Government’s Statement of Undisputed Facts (Doc. No. 14), the
Government's Response in Opposition to Mr. Range’s Motion for Summary Judgment (Doc. No.
15), the Government's Response in Opposition to Mr. Range’s Statement of Undisputed Material
Facts (Doc. No. 16), Mr. Range’s Response in Opposition to the Government’s Motion for
Summary Judgment (Doc. No. 17), and the Government's Reply in Support of its Motion for
Summary Judgment (Doc. No. 18), itis ORDERED that:

1. The Government's Motion for Summary Judgment (Doc. No. 12) is GRANTED.

2. Mr. Range’s Motion for Summary Judgment (Doc, No. 13) is DENIED.

3. Mr. Range’s Complaint (Doc. No, 1) is DISMISSED with prejudice.

4. The Clerk of Court shall mark this case CLOSED for all purposes, including statistics.

BY THE COURT:
aCrene ER, Pratter

GENE E.K. PRATTER
UNITED STATES DisTRICT JUDGE

 
 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRYAN DAVID RANGE,

Plaintiff CIVIL ACTION

Y, '
No, 20-3488

REGINA LOMBARDO ef al.,

Defendants

MEMORANDUM iy
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PRATTER, J AUGUST ft , 2021

 

Bryan Range pled guilty to making a false statement to obtain food stamps assistance more
than 25 years ago, which was then a misdemeanor offense. While Mr, Range served no time in
prison because of this conviction, the crime to which he pled guilty was punishable by up to five
years’ imprisonment. Asa result, 18 U.S.C, § 922(¢) prohibits him from owning a weapon.

Mr. Range seeks the Court's declaratory judgment that § 922(g) as applied to him violates
the Second Amendment. Because the Court concludes that Mr. Range’s conduct is sufficiently
“serious,” as that term is defined by Third Circuit precedent, § 922(g2} is constitutional as applied.
The Court will grant the Government's motion for summary judgment, and deny Mr. Range’s
motion for summary judgment.

BACKGROUND

Mr. Range pled guilty, in August 1995, to one count of making a false statement to obtain
food stamps assistance, in violation of 62 Pa. C.S. § 481(a). At that time, Mr. Range mowed lawns
for a living, earning between $9 and $9.50 an hour, or approximately $300 per week, He and his
wile struggled to make ends meet caring for their three children—a three-year-old and twin two-
year-olds. Mrs. Range prepared an application for food stamps, which she and Mr. Range both

signed. The application omitted Mr. Range's income. Mr. Range alleges that he did not review

 
 

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the application, but accepted responsibility for it and acknowledged that it was wrong to not fully
disclose his income. Mr, Range was sentenced to three years’ probation, which he satisfactorily
completed, $2,458 in restitution, $288.29 in costs, and a $100 fine. He served no time in jail, But
as will become relevant later, Mrs. Range—who allegedly prepared the application and alse signed
it—was not charged with a crime.

Violations of 62 Pa. C.8. §48l(a) were at the time classified as first-degree
misdemeanors,! punishable by up to five years’ imprisonment, Mr. Range alleges that when he
pled guilty, neither the prosecution nor the judge informed him of the maximum potential sentence,
or of the fact that by pleading guilty, he thereafter would be barred from possessing firearms.

Since 1995, Mr. Range’s only other “criminal” history includes minor traffic and parking
infractions, ag well as a fishing offense in 2011, He testified that he thought he had renewed his
fishing license, and that after paying the fine, he renewed the license.

At one time, Mr. Range attempted to purchase a firearm, but was rejected by the
background check system. The employee at the gun store Mr. Range visited reviewed a list of
prohibiting offenses with Mr. Range, and Mr Range verified that he had not committed any of

them. The employee told Mr. Range that the rejection was likely due to a computer error (4

Mr. Range's conduct was classified as a first-degree misdemeanor at the time, but in
2018 the Pennsylvania legislature amended 62 Pa. C.5. § 481 so that fraudulently obtained
assistance of $1,000 or more is now classified as a felony of the third degree. However, the
parties agree—as does the Court—that the classification of Mr. Range’s conduct at the time of
his conviction governs. See Binderup v. Att'y Gen. United States of Am., 836 F.3d 336, 351 (3d
Cir. 2016} (en bane) (“[T]he category of serious crimes changes over time az legislative
judgments regarding virtue evolve.”}; United States v. Jrving, 316 F. Supp. 3d &79, 890 (E.D. Pa.
2018), aff'd sub nom. United States v, Mills, No. 18-3736, 2021 WL 2351114 (3d Cir. June 9,
2021) (applying Binderup and noting that “having the Court rule on the constitutionality of an
[indictment] based on a jury's verdict some two m onths later™ would “require some form of
judicial time travel’).

 
 

 

 

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common refrain of modern life}, and that he should retry his purchase at a later time. But because
Mrs. Range had not been convicted of falsifying the application (or any other crime), she was able
to pass a background check. She purchased a hunting rifle and gifted it to Mr. Range. When that
gun later was destroyed in a house fire, she gifted him a different rifle.

Years later, Mr, Range again tried to purchase a gun and was again rejected. Once more,
the store employee told him that the rejection was a mistake, But when Mr. Range researched the
matter further, he learned that he was barred from possessing firearms because of his public
assistance application conviction. Mr, Range sold his only firearm so that he would be compliant
with the law, and then he brought this lawsuit.

LEGAL STANDARD

Summary judgment is appropriate “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter
of law.” Fed. R. Civ. P. $6(c). An issue is “genuine” if there is a sufficient evidentiary basis on
which a reasonable jury could return a verdict for the non-moving party. Kaucher v. Cty. of Bucks,
455 F.3d 418, 423 (3d Cir, 2006) (citing Anderson v, Liberty Lobby, Inc., 477 U.S. 242, 248
(1986)). A factual dispute is “material” if it might affect the outcome of the case under governing
law, Ja,

On a motion for summary judgment, the Court views the evidence presented in the light
most favorable te the non-moving party. See Anderson, 477 U.S. at 255. However, “Vu jnsupported
assertions, conclusory allegations, or mere suspicions are insufficient ta overcome a motion for

summary judement.” Betts v. New Castle Youth Dev. Cre, 621 F.3d 249, 252 (3d Cir. 2019).

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The movant is initially responsible for informing the Court of the basis for the mation for
summary judgment and identifying those portions of the record that demonstrate the absence of
any genuine issue of material fact. See Ceforex Corp. v. Carrett, 477 U.S. 317, 323 (1986). Where
the non-moving party bears the burden of proof on @ particular issue, the moving party's initial
burden can be met simply by “pointing out to the district court that there is. an absence of evidence
to support the nonmoving party’s case.” Jd, at 325. After the moving party has met the initial
burden, the non-moving party must set forth specific facts showing that there is a genuinely
disputed factual issue for trial by “citing to particular parts of materials in the record, including
depositions, documents, electronically stored information, affidavits or declarations,
stipulations ... , admissions, interrogatory answers, or other materials,” or by “showing that the
materials cited do not establish the absence or presence of a genuine dispute." Fed. R, Civ. P.
$6(c), Summary judgment is appropriate if the non-moving party fails to rebut by making a factual
showing “sufficient to establish the existence of an element essential to that party's case, and on
which that party will bear the burden of proof at trial.” Cefovex, 477 U.S. at 322,

Discussion

The controlling issue in this case is what limits the Second Amendment puts on the ability
of governments to limit access to firearms because of a citizen’s non-violent misdemeanor
conviction. This debate asks how to interpret language in the Supreme Court's watershed Second
Amendment case, District of Columbia v. Heller, 334 U.S. 370 (2008). After concluding that the
Second Amendment protects an individual's right to possess firearms, the Supreme Court stated
that “nothing in our opinion should be taken to cast doubt on longstanding prohibitions on the
possession of firearms by felons anc the mentally il," and that such laws are “presumptively

lawful." Heller, 554 U.S. at 626-27 & 1.26, However, courts have grappled with whether a

 
 

 

 

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challenger could rebut Heller's “presumption” that such laws are lawful, at least as applied to
them, and whether laws that prohibit the possession of firearms by misdemeanants are also
consistent with the Second Amendment.

Our Third Circuit Court of Appeals very recently addressed and tackled one of the
“meharted frontiers” remaining after Heller, See Drummond v. Robinson Twp., No. 20-1722,
3021 WL 3627106 (4d Cir, Aug. 17,2021), While analyzing the issue of the possible interference
of zoning rules with citizens’ Second Amendment right to bear arms, the appellate pane
underscored lessons from Medler that demand the delicate balancing of the right to bear arms with
the not unlimited nature of that right that leaves room for lawful restrictions, subject to heightened
judicial scrutiny on it. Jat at *11-12.

Turning to the specific Heller frontier presented by Mr. Range, the Third Circuit Court of
Appeals first considered this question en banc in Binderup v. Attorney General of the United States
of America, 836 F.3d 336 (3d Cir. 2016) (em banc). Binderup itself shows the challenging
topography of the topic. Three opinions were issued in Binderup, none of which represented a
majority. Judge Ambro, joined by two other judges, wrote for the court, Judge Hardiman was
joined by four other judges, concurring in the judgment. Judge Fuentes was joined by six other
judges in an opinion concurring in part and dissenting in part, The Third Circuit Court of Appeals
has since treated Judge Ambro's opinion as controlling based on an analysis under Marks v. United
Srates, 430 U.S. 188, 193 (1977), because it represented the median position between the
dissenting and concurring opinions, See Beers v. Alterney General, 927 F.3d 150, 155-56 (3d Cir.
2019), judgment veeated on other grounds, Beers v. Barr, 140 8, Ct. 2758 (mem.) (2020).

Binderup adopted, with some modifications, United States v. MMarzzoreila’s two-step

approach to determining whether a crime was “serious.” Binderup, 836 F.3d at 345 (citing United

 
 

 

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States v. Marzzarella, 614 F.3d 95, 89 (3d Cir. 2010)). At the first step, a court considers whether
the Second Amendment is implicated. See Drummond, 2021 WL 3627106, at *4 (citing
Mearzzarella, 614 F.3d at 89). If the claimant has committed a “serious” offense, rendering thal
person an “unvirtuous citizen" who was historically barred from possessing a firearm, that person
is judged to have lost his or her Second Amendment nights. Holloway v. Attorney General United
States, 948 F.3d 164, 171 (3d Cir, 2020) (quoting Binderup, 836 F.3d at 348-49). “[I]f the
challenger succeeds at step one, the burden shifts to the Government to determine that the
regulation satisfied some form of heightened scrutiny.” Rinderup, 836 F.3d at 347. See also
Drummond, 2021 WL 3627106, at *3.

Accordingly, the Court will first consider whether Mr. Range's conduct is sufficiently
“serious” for Mr. Range to lose his Second Amendment rights. Then, if it finds that the Second
Amendment is implicated, it will consider whether the Government has carried its burden of
demonstrating that the regulation satisfies heightened scrutiny.

A. Marzzarella Step One: Whether the Second Amendment is Implicated

Binderup set forth a nonexclusive four-factor test for determining whether a crime is
“serious”: “(1}) whether the conviction was classified as a misdemeanor or a felony, (2) whether
the criminal offense invelves viclence or attempted violence as an element, (3) the sentence
imposed, and (4) whether there ts a cross-jurisdictional consensus as to the seriousness of the
crime.” Holloway, 948 F.3d at 172 n.10 {citing Binderup, 836 F.3d at 351-52). Holloway itself
added one more factor: (5) the potential for physical harm to others, See id. at 173.

The Government concedes that Mr. Range satisfies four out of the five factors. His
conviction was classified as a misdemeanor, the criminal offense does not involve violence or

attempted violence as an clement, he was not sentenced to any jail time, and the crime involved

 
 

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no potential for physical harm to others. But the parties dispute whether there is a “cross-
jurisdictional consensus” as to the seriousness of his cnme.

The parties agree that between 39 and 41 jurisdictions in the United States would have
classified Mr. Range’s conduct asa felony.* Mr. Range concedes that 39 jurisdictions would likely
constitule a consensus, and the Court agrees—for at least two reasons. First, the word “consensus”
implies something short of total unanimity, but rather the acknowled ged existence of a “general
agreement.” See Consensus, Glack’s Law Dictionary (1ith ed, 2019} (“A general agreement,
collective opinion.”}, Consensus, Shorter Oxford English Dictionary (6th ed 2007) (“Agreement
or unity of opinion, testimony, etc., the majority view, a collective opinion... ."). Second, as the
challenger, the burden rests with Mr. Range to make a “‘strong’ showing that. .. he has not
committed a ‘serious’ crime.” Holloway, 948 F.3d at 172 (quoting Binderup, 836 F.3d at 347).
Therefore, even if this particular case falls close to the line, it ig Mr. Range’s burden to prove that
there is mor a consensus.

But Mr. Range argues that the proper point of reference is nat all 50 states, but rather only
those states that criminalize the making of a false statement regarding food stamps specifically.
He argues that the Court should disregard the 15 states that punish conduct like Mr. Range’s as a
felony under a general theft or falsification statute.

The Court disagrees, Every time that the Third Circuit Court of Appeals has applied the
Binderyp balancing test, it has considered the laws of all 50 states. Mr. Range cites no authority
for his argument that the Court should only consider laws that define the elements of a crime in

the same way as the state in which the challenger was convicted. Instead, he argues that the law

 

: See Doc, Nos. 17 at (8: [8 at 6. Because the partics agree that the difference between 39 and 41
jurisdictions should make no difference to the Court's analysis, the Court will mot discuss the details of
the parties’ dispute over the classification of the remaining two jurisdictions.

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should recognize that “there is a difference between a poor parent who applies for too many food
stamps, and a sophisticated fraudster who schemes to systematically bilk Medicare of millions.”
Perhaps, like compassionate human nature, or a personal gauge of morality, the law should make
such a distinction. Indeed, it can certainly be said that the law should be written in a way to
recognize many finer or closer distinctions than it does, No doubt there are even finer gradations
of guilt between the two extremes Mr. Range proposes.’ But under our system of government it
is within the prerogative of every state to choose between having a more complex criminal code
that defines its statutes narrowly, and more general criminal statutes that are accompanied by a
ereater range of possible punishments, Nothing in Binderyp, or any opinion applying its
multifactor test, provides that a state's choice to classify conduct like Mr. Range's as a felony 1s
irrelevant merely because the drafters of the laws in any given state choose to define crimes with
more general language.

Because the Court has concluded that there is a cross-jurisdictional consensus that making
a false statement regarding food stamps is seriqus, the question is whether this one factor is
sufficiently important for the Government to prevail here. Mr. Range argues that it is not, for
several reasons. First, he argues that the law's classification as a misdemeanor or a felony is the
most important factor, In support of this argument, he notes that the Third Circuit Court of Appeals
has described the law's classification as “generally conclusive.” Folaftar v. Atty Gen. af the
United States, 980 F.3d 897, 900 (3d Cir, 2020), cert. denied sub nom. Folqjtar v. Garland, No.
20-812, 2031 WL 1520793 (U.S. Apr. 19, 2021). The Third Circuit Court of Appeals has also

held that the underlying conduct's “potential for danger and risk of harm to self and others” was

 

4 Indeed, the compelling tug on the human heart such as Mr. Range appears lo present has
stood the test of time and modalities in literature, See Victor Hugo, Les Misérables (Norman
Denny trans., Penguin Books 1982) (1 Hed).

 

 
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sufficiently important that the Government prevailed even though the other four factors weighed
in favor of the challenger. See Holloway, 948 F.3d at 164. Mr. Range reasons that because
Binderup endorsed a balancing test, he need not prevail on every factor, especially where, as here,
both of the factors that the Third Circuit Court of Appeals has treated as most important support
his claim.

Mr. Range’s position is not without merit. The plurality opinion in Binderup described the
factor test as a balancing test, not a set of elements that all petitioners must meet. See Binderup,
836 F.3d at 351. And Judge Fuentes’s opinion dissenting in part likewise viewed the plurality's
holding as endorsing a balancing test of factors. See id at 411 (“Judge Ambro’s approach -. .
would require district court judges to consider a variety of factors in order to assess a crime’s
‘seriousness’... ."") (Fuentes, J., dissenting), One could reason that had Binderup intended Future
challengers to “run the gauntlet,” satisfying every factor, it would have said so.

However, that is not how subsequent opinions interpreting Sinderuy have used the
multifactor test. Both times that it has applied Bivderup, the Third Circuit Court of Appeals has
held for the Government even though only one factor weighed in its favor. The Government
prevailed in Holloway even though only the (newly-minted) “likelihood of physical harm” factor
weighed in its favor. Holloway, 948 F.3d at 173. The Government also prevailed in Folayfar even
though the only factor in its favor was the law's classification as a felony rather than a
misdemeanor. Fallajfar, 980 F.3d at 900, Indeed, the fact that the dissents in /olajfer and
Holloway both argued that the majorities had improperly treated one factor as dispositive only
confirms this interpretation of those opinions, Even more important is language in Binderup itself,
While no court has held that the cross-jurisdictional factor is similarly important, dicta in Binderup

suppests that its absence would have been dispositive. See Sinderup, 836 Pid at 353 (“Were the

 

 
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Challengers unable to show that so many states consider their crimes to be non-serious, it would
be difficult for them to carry their burden at step one.”).

Mr. Range next argues that the Government's proposed approach improperly renders the
law's classification as a “one-way rachet, employed only in felony cases to assist the government's
defense but relegated to a lower status when considering misdemeanors.” Doc. No. 13-1 at 16.
But a one-way rachet is exactly what the Third Circuit Court of Appeals has twice imposed, once
in Folajtar where it treated a crime’s classification as dispositive, and once in Holloway where it
relied solely on the likelihood of physical harm. While Mr. Range argues that /olajiar stands for
the proposition that a law's classification asa felony or a tnisdemeanor is “generally conclusive,”
that is not what Folajtar said. Rather, it said that “the legislature's designation of an alfense as a
felony is generally conclusive in determining whether that offense is serious.” Folajtar, 9B0 F 3d
at 900, It simply did not speak to the relative importance of a law's classification as a
misdemeanor. Thus, this Court cannot adopt Mr. Range’s view that a law's classification as 4
misdemeanor is generally conclusive that a law is not serious, because this would be inconsistent
with Holloway, which held for the Government even though the offense was a misdemeanor. See
Holloway, 948 F.3d at 174 (“While ‘generally the misdemeanor label ... in the Second
Amendment context is... important’ and is a ‘powerful expression’ of the state legislature's view,
it is not dispositive.” (alterations in original) (quoting Binderup, 836 F.4d at 352).

While Mr. Range argues that this approach is inconsistent with Binderup's description of
the standard as a “balancing test,” the Court is bound to follow Folajiar and Holloway. Moreover,
this route makes sense when considered against the wider context of as applied challenges to
§ 922(e(1). Challengers like Mr. Range do face an uphill battle because statutes are

presumptively constitutional. See, eg., Holloway, 948 F.3d at 172 (noting that the burden rests

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with the challenger to demonstrate that §922(g) is unconstitutional as applied); Ogder v.
Saunders, 25 U.S, (12 Wheat.) 213, 270 (1827) (noting that courts should “presume in favor af (a
statute's) validity, until its violation of the Constitution is proved beyond a reasonable doubt").
And it is not merely each state’s determination of a statute's serigusness that the Court is
considering, Congress has also determined that the conduct in question was sufficiently serious to
justify disarmament. This fact operates as a powerful “sixth factor” present in every case,
weighing in favor of the Government.

While the Court acknowledges that this can be considered a matter of first impression, it
concludes that the cross-jurisdictional consensus factor—lke the subject law's classification as a
felony, and the likelinood of physical harm—is generally conclusive that a crime is serious.” See
Binderup, 836 F.3d at 333.

CONCLUSION
For the foregoing reasons, the Court will grant the Government's Motion for Summary

Judgment, and deny Mr. Ranges Motion for Summary Judgment. An appropriate order follows.

BY fe COURT:
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“Une rep STaTes DISTRICT JUDGE

 

4 Sicknans the Government prevails at Marzereffa step one, the Court will not proceed to step two
to consider whether the Government hes produced sufficient evidence to withstand heightened scrutiny.

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANSTA

BRYAN DAVID RANGE, ;
Plainvjf : CIVIL ACTION

No. 20-3488
REGINA LOMBARDO ef af.,
Defendants

ORDER

AND NOW, this 30th day of August, 2021, upon consideration of the Government's
Motion for Summary Judgment (Doc. No. 12), Mr. Range’s M otion for Summary Judgment
(Doc, No. 13), the Government's Statement of Undisputed Facts (Doc, No. 14), the
Government’s Response in Opposition to Mr. Range's Motion for Summary Judgment (Dog, No.
15), the Government's Response in Opposition to Mr, Range’s Statement of Undisputed Material
Facts (Doc, No, 16), Mr, Range’s Response in Opposition to the Government's Motion for
Summary Judgment (Doc, No. 17), and the Government's Reply in Support of its Motion tor
Summary Judgment (Dog, No 18), it is ORDERED that:

i. The Government’s Motion for Summary Judgment (Dog, No. 12) is GRANTED.

2, Mr. Range's Motion for Summary Judgment (Doc No, 13) is DENIED.

Nb

Mr, Ranges Complaint (Dog, No 1) is DISMISSED with prejudice.

4. The Clerk of Court shall mark this case CLOSED for all purposes, including statistics.

BY THE COURT:
w'iGene EAL Prater

GENE E.K. PRATTER
UNITED STATES DISTRICT JUDGE

 
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BRYAN DAVID RANGE,
Appellant

Wa
ATTORNEY GENERAL UNITED STATES OF AMERICA;

A
REGINA LOMBARDO, Acting Director, Bureau of Alcohol,

Tobacco, Firearms and Explosives

 

 
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PATRICIA 5. DODS£L WEITT Ustren States Court or Apress TELEPHONE
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CLERK 601 MARKET STREET

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& Website: wew cad. uscourts, gov

September 30, 2021

 

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RE: Bryan Range v. Attorney General United States, et al
Case Number: 21-2835
District Court Case Number: 5-20-cv-03488

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To All Parties:

Attorneys are required to file all documents electronically through the Court's Electronic
Case Filing System. See 3d Cir. L.A.R. 113 and the Court's website at
www.cas. uscourts.gov/cmect-case-managementelectronic-case-fles.

Enclosed is case opening information regarding the above-captioned appeal filed by Bryan
David Range, docketed at No. 21-2835, All inquiries should be directed to your Case Manager

 

 
